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Alexander Emric Jones                                                             Case No. 22-33553
                                Part 1 - Statement of Cash Receipts and Disbursements
                                                            March 1-31, 2024

                                 PNC DIP       Prosperity Bank Security Bank   Chase      B of A      Chase      B of A
            Bank Account                                                                                                     Total
                                  #5233             #9175          #8548       #7518      #2913       #3520      #6078

Opening Balance                  4,585,293                853         1,053      1,147         775       1,207        901    4,591,228

    Cash Receipts                  211,790                                                                                     211,790

    Cash Disbursements           (3,355,127)                                       (25)       (270)                   (25)   (3,355,447)

    Net Cash Flow                1,441,956                853         1,053      1,122         505       1,207        876    1,447,571

    Transfer In                                                                                                                       0
    Transfers Out                                                                                                                     0

Ending Bank Balance              1,441,956                853         1,053      1,122         505       1,207        876    1,447,571
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                             Alexander E Jones
                               Balance Sheet
                               As of March 31, 2024

                                                          Total
   ASSETS
    Current Assets
      Bank Accounts
       Bank of America #2913                                         505
       Bank of America #6078                                         876
       Chase #3520                                                  1,207
       Chase #7518                                                  1,122
       PNC #5233 DIP                                         1,441,955
       Prosperity Bank #9175                                         853
       Security Bank #8548                                          1,053
      Total Bank Accounts                             $       1,447,571
      Accounts Receivable
       Accounts Receivable                                          6,105
      Total Accounts Receivable                       $             6,105
      Other Current Assets
       Bitcoin Account                                              1,882
       Cash on Hand                                                 1,000
       GiveSendGo-Legal                                            37,282
       Inventory Platinum                                         239,594
       Rental Property Escrow                                       7,862
      Total Other Current Assets                      $           287,620
    Total Current Assets                              $       1,741,296
    Fixed Assets
      Homestead                                              2,612,800
      Lakehouse                                              1,750,000
      Ranch Property                                         2,189,220
      Rental Property                                             505,000
      Vehicles and Marine Assets
       Dodge Charger                                               70,618
       Ford Expedition                                             21,463
       Marine Assets                                              114,300
      Total Vehicles and Marine Assets                $           206,381
    Total Fixed Assets                                $       7,263,401
    Other Assets
      Asset Sales Escrow Account                                   72,000
      Interests In Trust                                          131,528
      Ownership Interests in Non Public Entities                   17,302
      Personal Property                                           180,821
      Receivable from Descendants Trust                            32,868
      Receivable from Mrs. Jones                                    8,363
    Total Other Assets                                $           442,883
   TOTAL ASSETS                                       $       9,447,580
   LIABILITIES AND EQUITY
    Liabilities
      Current Liabilities
       Accounts Payable




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                             Alexander E Jones
                               Balance Sheet
                                 As of March 31, 2024

                                                                        Total
         Accounts Payable                                                        25,616
       Total Accounts Payable                                     $              25,616
       Other Current Liabilities
         Accrued Pre Nuptial Obligation                                          47,374
         Accrued Professional Fees                                              587,286
         Accrued Property Tax Payable                                            20,730
         Payroll Tax Payable-Child Care                                           2,666
         Payroll Tax Withheld-Child Care                                          6,171
       Total Other Current Liabilities                            $             664,227
     Total Current Liabilities                                    $             689,842
     Long-Term Liabilities
       Rental Property Mortgage                                                  26,793
     Total Long-Term Liabilities                                  $              26,793
    Total Liabilities                                             $             716,636
    Equity
     Opening Balance Equity                                                 13,039,233
     Owner's Investment                                                              0
       OtherDeposits/Transfers                                                  171,668
     Total Owner's Investment                                     $             171,668
     Owner's Pay & Personal Expenses
       Gifts                                                                     63,919
     Total Owner's Pay & Personal Expenses                        $              63,919
     Retained Earnings                                                      -2,296,679
     Net Income                                                             -2,247,197
    Total Equity                                                  $          8,730,944
   TOTAL LIABILITIES AND EQUITY                                   $          9,447,580




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                           Alexander E Jones
                        Profit and Loss by Month
                                    March 2024

                                                     Total
 Income
  Advertising Income                                           3,263
  Book Sales Income                                           13,921
  FreeSpeech Payroll                                          50,000
  Interest Income (1)                                        -22,283
  Rental Income                                                1,200
  Sales of Product Income                                    120,381
    Cost of Goods Sold                                       -21,102
    Selling Expense                                          -47,610
  Total Sales of Product Income                  $            51,669
  Video Game Revenue                                          75,705
    Video Game Fees                                          -37,870
  Total Video Game Revenue                       $            37,835
 Total Income                                    $           135,605
 Payroll Deductions
  Child Support- Garnished                                     1,846
  Medical Insurance Premiums                                   1,161
  Payroll Taxes withheld                                      18,176
 Payroll Deductions                              $            21,184
 Gross Profit                                    $           114,421
 Expenses
  Living Expenses
    Auto/Trucks/Watercraft
      Auto/Boat Maintenance                                     737
      Auto/Truck/Boat Insurance                                1,209
      Boat Storage                                              860
      Fuel                                                      720
    Total Auto/Trucks/Watercraft                 $             3,527
    Family
      Child Care                                              11,112
      Groceries                                                3,823
      Homestead
       Maintenance                                             4,991
          Housekeeping                                         3,900
          Misc. Supplies and Services                          1,329
       Total Maintenance                         $            10,220
       Phone/Internet                                           437
       Property Insurance                                      1,006
       Property Tax                                            4,800
       Utilities                                               2,501
      Total Homestead                            $            18,964
      Household Purchases                                      1,213
      Insurance                                                 126
      Meals & Entertainment                                    2,374
       Apple/Netflix/Hulu charges                               363
      Total Meals & Entertainment                $             2,738
      Medical                                                  1,134
      Personal Expenses                                        5,100
      PreNup Obligation                                       15,791
      School and Kid's Activities

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                               Alexander E Jones
                            Profit and Loss by Month
                                               March 2024

                                                                                        Total
         Activities                                                                                         2,266
       Total School and Kid's Activities                                  $                                 2,266
     Total Family                                                         $                                62,268
   Total Living Expenses                                                  $                                65,795
   Other Expenses
     Bank Charges & Fees                                                                                      75
     Business Expenses                                                                                       467
     Federal Income Tax Expense                                                                       878,000
     Interest Paid                                                                                           148
     Legal & Professional Services                                                                    549,613
     Real Estate
       Lakehouse
         Lakehouse Insurance                                                                                 352
         Lakehouse Internet                                                                                  376
         Lakehouse Maintenance                                                                               708
         Lakehouse Property Tax                                                                             1,280
         Lakehouse Utilities                                                                                  42
       Total Lakehouse                                                    $                                 2,758
       Ranch property                                                                                         27
       Rental Property Tax                                                                                   830
     Total Real Estate                                                    $                                 3,614
     Rental Storage Units                                                                                   2,402
   Total Other Expenses                                                  $                          1,434,320
   US Trustee Fees                                                                                         37,673
 Total Expenses                                                          $                          1,537,788
 Net Operating Income                                                    -$                         1,423,366
 Other Income
   Donations                                                                                                3,796
 Total Other Income                                                       $                                 3,796
 Net Other Income                                                         $                                 3,796
 Net Income                                                              -$                         1,419,571


 (1) Negative interest income represents a correction to amounts coded as interest income that should an
 adjustment to beginning equity related to the income tax refund received in February 2024.




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Alexander Emric Jones                             Case No. 22-33553
               Schedule of Payments to Professionals
                                March 1‐31, 2024
          Firm Name                         Role                 Amount

     BlackBriar Advisors        Financial Advisors                   444,122
     Crowe Dunlevy, P.C.        Co-Counsel to Debtor               1,270,477
        Jordan & Ortiz          Co-Counsel to Debtor                  63,183
         Teneo Capital          Financial Advisor for Creditor       354,093
Martin Disiere Jefferson Wisdom Special Counsel to Debtor            181,972
       Reynal Law Firm          Special Counsel to Debtor             56,167
       Rachel Kennerly          Tax Accountant                         6,180
                                                                   2,376,193
                  Schedule of Payments to Insiders
                                March 1‐31, 2024
             Payee                                               Amount


No Payments during the Period
